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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA

       v.                                               Criminal Action No. 21-0195 (TFH)

 DEBORAH SANDOVAL,

 and

 SALVADOR SANDOVAL, JR.,

                                Defendants.


                                       PRE-TRIAL ORDER

         In accordance with the matters discussed during the June 6, 2022 videoconference

hearing in this case, and in order to administer the trial of this case in a manner that is fair and

just to the parties and is consistent with the goal of completing the trial in the most efficient

manner, it is hereby

        ORDERED that counsel shall comply with each of the following procedures and

requirements:

        1.      TRIAL. The trial will begin with jury selection on December 14, 2022 at 9:30

a.m. in a courtroom to be determined according to the applicable courthouse protocols regarding

the on-going COVID-19 pandemic.

        2.      PRE-TRIAL CONFERENCES. An initial pre-trial conference will be held on

August 16, 2022 at 11:00 a.m. in Courtroom 26A. The final pre-trial conference will be held on

October 24, 2022 at 3:00 p.m. in Courtroom 26A. The Court will rule on any objections to
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proposed exhibits, to the extent possible, at the pre-trial conference, hearing argument as

necessary.

       3.      PRE-TRIAL MOTIONS. The parties shall file any additional pre-trial motions,

including motions to suppress and motions in limine, on or before July 19, 2022; oppositions

shall be filed by August 2, 2022; and replies shall be filed by August 9, 2022. Argument on any

pre-trial motions will be heard at the first pre-trial conference on August 16, 2022 at 11:00 a.m.

       4.      JOINT PRE-TRIAL STATEMENT. The parties shall file a Joint Pre-Trial

Statement by October 22, 2022 that contains the following:

               a. a one-paragraph joint statement of the case for the Court to read to prospective
                  jurors;

               b. proposed voir dire questions that include:
                      i. the voir dire questions on which the parties agree; and
                     ii. the voir dire questions on which the parties disagree, with specific
                         objections noted below each disputed question and supporting legal
                         authority (if any);

               c. the text of proposed jury instructions, which are formatted so that each
                  instruction begins on a new page, and indicate:
                       i. the instructions to which the parties agree;
                      ii. the instructions to which the parties disagree, with specific objections
                          noted below each disputed instruction and supporting legal authority
                          (if any); and
                     iii. the proposed instruction’s source (e.g., the Red Book, Matthew
                          Bender’s Federal Jury Instructions) or, for modified or new
                          instructions, its supporting legal authority;

               d. a list of expert witnesses, accompanied by a brief description of each
                  witness’s area of expertise and expected testimony, followed by specific
                  objections (if any) to each witness;
               e. a list of any prior convictions that the government intends to use for
                  impeachment or any other purpose, followed by specific objections (if any) to
                  that use;



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               f. a list of exhibits that each party intends to offer during trial, with a brief
                  description of each exhibit, followed by specific objections (if any) to the
                  admissibility of any exhibits;
                       i. All exhibits are to be marked in advance of trial and listed on the
                           exhibit form furnished by Courtroom Deputy Clerk Andriea Hill. The
                           written list of exhibits must contain a brief description of each exhibit.
                      ii. At the commencement of trial, counsel shall furnish the Court with
                           two sets of binders containing their exhibit lists and copies of their pre-
                           marked exhibits.

               g. any stipulations executed or anticipated to be executed; and

               h. a proposed verdict form that includes a date and signature line for the jury
                  foreperson, as well as proposed special interrogatories (if any).

       In addition to filing the Joint Pre-Trial Statement on October 22, 2022, the parties shall

transmit, in Word format, an electronic copy of (a) any proposed modification to a standard jury

instruction, (b) any non-standard jury instruction, and (c) the verdict form, by email to Chambers

(c/o Andriea_Hill@dcd.uscourts.gov).

       5.      TRIAL PROCEDURES. Following the initial pre-trial conference, the Court will

issue an order regarding trial procedures that sets out the schedule, the jury selection process, and

other general rules to govern the trial.


       SO ORDERED.




       June 29, 2022
                                                          Thomas F. Hogan
                                                      United States District Judge




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